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                                                                                  April 29, 2024

VIA EMAIL
Andre Wilson
United States Probation Officer
333 Constitution Avenue, NW
Washington, DC 2001


Re:    United States v. Ryan Nichols, Case No. 21-cr-00117 (RCL)
       Presentence Investigation Report


Dear Mr. Wilson,

       Dear Mr. Wilson, I trust this message finds you in good health. The Defense objects to the

inclusion of the Specific Offense Characteristic found in Paragraph 62b on page 16 of the PSR.

The Defense objects to including this enhancement because the next paragraph 62c, also enhances

Mr. Nichols’ Guidelines Calculation by an additional six points for committing an offense for the

same exact conduct.

       In United States v. Farrow, 198 F.3d 179 (6th Cir. 1999), the Sixth Circuit set out the

analysis for illegally double counting enhancements under the Guidelines, instructing that “Double

counting occurs when precisely the same aspect of a defendant’s conduct factors into his sentence

in two separate ways.” Respectfully, we believe that is precisely what has happened here. The

relevant portions of the PSR read as follows:


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       Paragraph 62b
       Specific Offense Characteristics: The defendant used a dangerous weapon [to wit:
       Defendant Nichols, along with other rioters, pushed into officers in a synchronized manner
       and the defendant took a large red canister of OC or pepper spray and delivered two streams
       of spray hitting multiple officers, including MPD Officer I.D]. Therefore, four levels are
       added. USSG §2A2.2(b)(2).


       Paragraph 62c
       Victim Related Adjustment: In a manner creating a substantial risk of serious bodily
       injury, the defendant, knowing or having reasonable cause to believe that a person was a
       law enforcement officer, assaulted MPD I.D., who assaulted such officer during the course
       of the offense or immediate flight therefrom. Therefore, six levels are added. USSG
       §3A1.2(c)(1).


       As such, and for the reasons stated above, the Defense respectfully objects to the four-point

Specific Offense Characteristic found in Paragraph 62b on page 16 of the PSR.



Dated: Brooklyn, NY
       April 29, 2024


                                                                  Respectfully submitted,

                                                                  /s/ Joseph D. McBride, Esq.
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